                                                                        DISTRICT OF OREGON
                                                                             FILED
                                                                          September 26, 2018
                                                                      Clerk, U.S. Bankruptcy Court




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 8                          UNITED STATES BANKRUPTCY COURT

 9                             FOR THE DISTRICT OF OREGON

10   In Re:                                   Bankruptcy Case
                                              No.16-33185-pcm7
11   PETER SZANTO,

12                   Debtor.
                                              Adversary No. 16-3114-pcm
13   PETER SZANTO,
14                   Plaintiff,               ORDER GRANTING PLAINTIFF’S MOTION
            v.                                TO EXTEND TRIAL DATE (DOC. 427)
15
16   EVYE SZANTO, et al.,
17                    Defendants.
18         The court has reviewed plaintiff’s Motion to Extend Trial Date
19   (Doc. 427).   Having reviewed the record in this case and in the interest
20   of justice and good cause appearing therefor,
21         IT IS HEREBY ORDERED that plaintiff’s Motion to Extend Trial Date
22   is GRANTED.   No later than October 10, 2018, the parties must supply
23   their availability for trial in February and March 2019 by
24   correspondence to the court.
25                                      ###
     cc:  Peter Szanto
26        Nick Henderson
          UST
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     (DOC. 427)

                       Case 16-03114-pcm   Doc 428   Filed 09/26/18
